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 UNITED STATES DISTRICT COURT                               Case No. 19-cv-02018
 DISTRICT OF CONNECTICUT
 ---------------------------------------------------------X 29 U.S.C. § 216(b)
 TUNG YEUNG,                                                COLLECTIVE ACTION
 on his own behalf and on behalf of others similarly
 situated
                                     Plaintiff,             COMPLAINT
                                     v.
 NEW FOLIAGE INC; and
 YI WEI REN a/k/a Jack Ren,
 RICHIE XIAOLU REN, and
 SHANZHU HE
                                     Defendants.
 ---------------------------------------------------------X
         Plaintiff TUNG YEUNG (hereinafter referred to as Plaintiff), on behalf of himself and

others similarly situated, by and through his attorney, Troy Law, PLLC, hereby brings this

complaint against Defendants NEW FOLIAGE INC; and YI WEI REN a/k/a Jack Ren, and

alleges as follows:

                                        INTRODUCTION

        1.       This action is brought by the Plaintiff TUNG YEUNG, on behalf of himself as

well as other employees similarly situated, against the Defendants for alleged violations of the

Fair Labor Standards Act, (FLSA) 29 U.S.C. § 201 et seq. and of the Connecticut Minimum

Wage Act (“CMWA”), Connecticut General Statutes Section 31-68 et seq., arising from

Defendants’ various willfully and unlawful employment policies, patterns and practices.

        2.       Upon information and belief, Defendants have willfully and intentionally

committed widespread violations of the FLSA and CMWA by engaging in pattern and




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practice of failing to pay its employees, including Plaintiff, minimum wage for each hour

worked and overtime compensation for all hours worked over forty (40) each workweek.

        3.       Plaintiff alleges pursuant to the FLSA, that he is entitled to recover from the

Defendants: (1) unpaid minimum wage, (2) unpaid overtime wages (3) liquidated damages,

(4) prejudgment and post-judgement interest; and or (5) attorney’s fees and cost

        4.       Plaintiff further alleges pursuant to the Connecticut law, Connecticut General

Statutes Section 31-68 et seq. and Connecticut Public Act 15-86 that he is entitled to recover

from the Defendants: (1) double unpaid minimum wages, (2) double unpaid overtime

compensation, (3) pre-judgment and post-judgment interest, and (4) attorney’s fees and costs

                                    JURISDICTION AND VENUE

        5.       This Court has original federal question jurisdiction over this controversy

under 29 U.S.C. § 216(b) and 28 U.S.C. § 1331, and has supplemental jurisdiction over the

Connecticut Minimum Wage Act claims pursuant to 28 U.S.C. § 1367(a).

        6.       Venue is proper in the District of Connecticut pursuant to 28 U.S.C. §§

1391(b) and (c), because Defendants conduct business in this District, and the acts and

omissions giving rise to the claims herein alleged took place in this District.

                                               PLAINTIFF

        7.       From on or about May 08, 2019 to June 01, 2019, Plaintiff TUNG YEUNG

was employed by Defendants to work as a Deliveryman at Foliage Chinese Restaurant located

at 452 Main St, East Haven, CT 06512.

        8.       Plaintiff and other Foliage Chinese Restaurant employees lived at the

restaurant-provided dorm at 483 Main Street, East Haven, CT 06512.

                                             DEFENDANTS


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        Corporate Defendant

        9.       Defendant NEW FOLIAGE INC d/b/a Foliage Chinese Restaurant is a

domestic business corporation organized under the laws of the State of Connecticut with a

principal address at 452 Main Street, East Haven, CT 06512.

        10.      NEW FOLIAGE INC d/b/a Foliage Chinese Restaurant is a business engaged in

interstate commerce that has gross sales in excess of five hundred thousand dollars ($500,000)

per year.

        11.      NEW FOLIAGE INC d/b/a Foliage Chinese Restaurant purchased and handled

goods moved in interstate commerce.

        Owner/ Operator Defendants

        12.      YI WEI REN a/k/a Jack Ren known as Boss to Plaintiff, (1) had the power to

hire and fire employees, (2) supervised and controlled employee work schedules or conditions

of employment, (3) determined the rate and method of payment, and (4) maintained employee

records at Foliage Chinese Restaurant.

        13.      YI WEI REN a/k/a Jack Ren actually hired and fired, Plaintiff TUNG

YEUNG.

        14.      YI WEI REN a/k/a Jack Ren acted intentionally and maliciously and is an

employer pursuant to FLSA, 29 U.S.C. § 203(d) and regulations promulgated thereunder, 29

C.F.R. § 791.2, NYLL § 2 and the regulations thereunder, and is jointly and severally liable

with Foliage Chinese Restaurant.

                                      STATEMENT OF FACTS

        15.      Defendants committed the following alleged acts knowingly, intentionally and

willfully against the Plaintiff and the FLSA Collective Plaintiffs.


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Plaintiff TUNG YEUNG

        16.      From on or about May 08, 2019 to June 01, 2019, Plaintiff TUNG YEUNG was

employed by Defendants to work as a Deliveryman at Foliage Chinese Restaurant located at

452 Main St, East Haven, CT 06512.

        17.      From on or about May 08, 2019 to June 01, 2019 Plaintiff TUNG YEUNG’s

run from

              a. 11:00 to 22:30 from Tuesday to Thursday for Eleven and half (11.50) hours

                 per day.

              b. 11:00 to 23:00 on Friday and Saturday for Twelve (12) hours a day.

              c. 12:00 to 22:30 on Sunday for Ten and Half (10.50) hours a day.

        18.      From on or about May 08, 2019 to June 01, 2019 Plaintiff TUNG YEUNG

worked for a total of Seventy (70) hours a week with Monday off.

        19.      At all relevant times, Plaintiff TUNG YEUNG did not have a fixed time for

lunch or for dinner.

        20.      In fact, Plaintiff TUNG YEUNG had ten minutes to eat and even then he was

on call, meaning that if customer’s order came, his break stopped and he had to deliver.

        21.      From on or about May 08, 2019 to June 01, 2019, Plaintiff TUNG YEUNG

was paid a flat compensation at a rate of Eighteen Hundred Dollars ($1800) per month.

        22.      At all relevant times, Plaintiff TUNG YEUNG was not paid overtime pay for

overtime work.

        23.      At all relevant times, Plaintiff TUNG YEUNG was never informed of his

hourly pay rate or any tip deductions toward the minimum wage.

        24.      Throughout his employment, Plaintiff TUNG YEUNG was not compensated at




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least at one-and-one-half his promised hourly wage for all hours worked above forty (40) in

each workweek.

        25.    In delivering food to Defendants’ customers, Plaintiff TUNG YEUNG drives

between 4.5 miles to 9 miles per day, with an average of 9 miles.

        26.    On average, Plaintiff TUNG YEUNG drives 4.5 miles per order, and delivers

Thirty Five (35) orders a day.

        27.    Plaintiff TUNG YEUNG was not reimbursed by Defendants for the cost of the

gasoline and maintaining his delivery vehicle (car) for Defendants’ benefit.

        28.    Moreover, Plaintiff TUNG YEUNG was hurt during delivery at 15:30 on May,

25, 2019 and terminated thereafter.

                             COLLECTIVE ACTION ALLEGATIONS

        29.    Plaintiff brings this action individually and as class representative individually

and on behalf of all other and former non-exempt employees who have been or were

employed by the Defendants for up to the last three (3) years, through entry of judgment in

this case (the “Collective Action Period”) and whom were not compensated at their promised

hourly rate for all hours worked and at one and one half times their promised work for all

hours worked in excess of forty (40) hours per week (the “Collective Action Members”).

                                      STATEMENT OF CLAIMS



               [Violations of the Fair Labor Standards Act—Unpaid Wage
               Brought on behalf of the Plaintiff and the FLSA Collective]

        30.    Plaintiff re-alleges and incorporates by reference all preceding paragraphs as

though fully set forth herein.

        31.    At all relevant times, Defendants had a policy and practice of refusing to pay



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Plaintiff in full, and the similarly situated collective action members, for some or all of the

hours they worked.

        32.    The FLSA provides that any employer who violates the provisions of 29 U.S.C.

§ 206 shall be liable to the employees affected in the amount of their unpaid wage, and in an

additional equal amount as liquidated damages.

        33.    Defendants knowingly and willfully disregarded the provisions of the FLSA as

evidenced by failing to compensate Plaintiff and Collective Class Members at the statutory

minimum wage when they knew or should have known such was due and that failing to do so

would financially injure Plaintiff and Collective Action members.


                           [CMWA Minimum Wage Violations]

        34.    At all relevant times, Plaintiff was employed by the Defendants within the

meaning of Conn. Gen. Stat. §31-58(f).

        35.    Defendants willfully violated the rights of Plaintiff by failing to pay minimum

fair wage for all hours worked in violation of Conn. Gen. Stat. §31-62.

        36.    Defendants willfully violated the rights of Plaintiff by unlawfully deducting

from employees’ minimum fair wage by requiring delivery employees to pay out of pocket for

gasoline and automobile expenses in violation of Conn. Gen. Stat. §31-62-E7.

        37.    Defendants willfully failed to distribute records of hours worked, earnings, and

overtime to the restaurant workers, in violation of Conn. Gen. Stat. §31-13a.

        38.    Defendants willfully failed to keep records of hours worked by the restaurant

workers, in violation of Conn. Gen. Stat. §31-66.

        39.    Based upon the foregoing, Defendants’ conduct in this regard was a willful

violation of the CMWA, and entitles Plaintiff for all hours worked at the full minimum wage,



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penalty damages, interest, and court costs.

        40.    Defendants’ conduct in failing to pay Plaintiff his earned compensation was

unreasonable, arbitrary and/or in bad faith, in that Defendants knew or should have known that

they were entitled to be paid the full fair minimum wage for all hours worked, but failed to do

so.

        41.    Accordingly, Plaintiff is entitled to compensation for all hours worked at the full

fair minimum wage, penalty damages, attorneys’ fees, and court costs.


          [Violations of the Fair Labor Standards Act—Failure to Pay Overtime
                Brought on behalf of the Plaintiff and the FLSA Collective]

        42.    Plaintiff re-alleges and incorporates by reference all preceding paragraphs as

though fully set forth herein.

        43.    The FLSA provides that no employer engaged in commerce shall employ a

covered employee for a work week longer than forty (40) hours unless such employee

receives compensation for employment in excess of forty (40) hours at a rate not less than one

and one-half times the regular rate at which he is employed, or one and one-half times the

minimum wage, whichever is greater. 29 U.S.C. § 207(a).

        44.    The FLSA provides that any employer who violates the provisions of 29

U.S.C. § 207 shall be liable to the employees affected in the amount of their unpaid overtime

compensation, and in an additional equal amount as liquidated damages. 29 USC § 216(b).

        45.    Defendants’ failure to pay Plaintiff and the FLSA Collective their overtime

pay violated the FLSA.

        46.    At all relevant times, Defendants had, and continue to have, a policy of

practice of refusing to pay overtime compensation at the statutory rate of time and a half to

Plaintiff and Collective Action Members for all hours worked in excess of forty (40) hours


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per workweek, which violated and continues to violate the FLSA, 29 U.S.C. §§ 201, et seq.,

including 29 U.S.C. §§ 207(a)(1) and 215(a).

         47.   The FLSA and supporting regulations required employers to notify employees

of employment law requires employers to notify employment law requirements. 29 C.F.R. §

516.4.

         48.   Defendants willfully failed to notify Plaintiff and FLSA Collective of the

requirements of the employment laws in order to facilitate their exploitation of Plaintiff’ and

FLSA Collectives’ labor.

         49.   Defendants knowingly and willfully disregarded the provisions of the FLSA as

evidenced by their failure to compensate Plaintiff and Collective Class Members the statutory

overtime rate of time and one half for all hours worked in excess of forty (40) per week when

they knew or should have known such was due and that failing to do so would financially

injure Plaintiff and Collective Action members.


                               [CMWA Overtime Violations]

         50.   At all relevant times, Plaintiff was employed by the Defendants within the

meaning of Conn. Gen. Stat. §31-58(f).

         51.   This claim is brought individually on behalf of the named plaintiff as well as

on behalf of the Class.

         52.   Defendants willfully violated the rights of Plaintiff and all other members of

the Connecticut Class by failing to pay overtime compensation at rates not less than one and

one-half times the regular rate of pay for each hour worked in excess of forty hours in a

workweek in violation of Conn. Gen. Stat. §31-76c.

         53.   Defendants willfully failed to distribute records of hours worked, earnings, and



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overtime to the restaurant workers, in violations of Conn. Gen. Stat. §31-13a.

        54.     Defendants willfully failed to keep records of hours worked by the restaurant

workers, in violation of Conn. Gen. Stat. §31-66.

        55.     Based upon the foregoing, Defendants’ conduct in this regard was a willful

violation of the CMWA, and entitles Plaintiffs and all other members of the Connecticut Class

to overtime compensation for all hours worked in excess of forty per week at one and one-half

times the regular rate, penalty damages, interest, and court costs.

        56.     Defendants’ conduct in failing to pay Plaintiff and all other members of the

Connecticut Class their overtime compensation was unreasonable, arbitrary and/or in bad

faith, in that Defendants knew or should have known that they were entitled to be paid for all

hours worked in excess of forty per week at one and one-half times the regular rate, but failed

to do so.

        57.     Accordingly, Plaintiff is entitled to compensation for all hours worked at one

and one-half times the regular rate, penalty damages, attorneys’ fees, and court costs.


 [Breach of Implied Contract for Reimbursement of all Costs and Expenses of Electric
    Delivery Vehicle, including Depreciation, Insurance, Maintenance and Repairs
                   Brought on behalf of the Plaintiff and the Class]

        58.     Plaintiff re-alleges and incorporates by reference all preceding paragraphs as

though fully set forth herein.

        59.     Throughout the relevant period, Defendants required their deliverymen to bear

all of the “out-of-pocket” costs associated with their vehicles, including the purchase,

maintenance, repair, maintenance of the delivery vehicles.

        60.     Based on his personal experience and available information, Plaintiff can

document actual “out-of-pocket” vehicle related expenses of his car.



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        61.    The conduct of Defendants, and the course of Defendant’s conduct between the

parties, evidenced an intent for Plaintiff to maintain the delivery vehicle in working condition.

        62.    Plaintiff purchased, maintained and repaired the car at his own expense.

        63.    Plaintiff performed these deliveries for the sole benefit of the Defendants.

        64.    Defendants neither explicitly nor implicitly requested Plaintiff to cease the

purchase of gasoline and/or the maintenance of the vehicle.

        65.    As a result of the afore-alleged conduct of the parties, an implied contract arose

between them the terms of which are that Plaintiff would incur the expenses for bicycle

purchase and vehicle maintenance, in exchange for compensation from Defendants for such

expenses.

        66.    Defendants never compensated Plaintiff for any expenses incurred from the

purchase and maintenance of the car, and the purchase of batteries.

        67.    As a result, Defendants breached the implied contract by failing and refusing to

pay Plaintiff a reasonable sum under the afore-alleged facts.

        68.    Defendants owe Plaintiff his overdue costs of delivery vehicles, cost of batter

change, if applicable, and maintenance of the car.

                                       PRAYER FOR RELIEF

        WHEREFORE, Plaintiff, on behalf of himself, and on the behalf of the FLSA

Collective Plaintiffs, respectfully requests that this Court enter a judgment providing the

following relief:

        a)     Authorizing Plaintiff at the earliest possible time to give notice of this

collective action, or that the Court issue such notice, to all persons who are presently, or have

up through the extent allowable under the statute of limitations and including the date of


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issuance of court-supervised notice, been employed by Defendants as non-exempt employees.

Such notice shall inform them that the civil notice has been filed, of the nature of the action,

of his right to join this lawsuit if they believe they were denied premium overtime wages;

        b)     Certification of this case as a collective action pursuant to FLSA;

        c)     Issuance of notice pursuant to 29 U.S.C. § 216(b) to all similarly situated

members of the FLSA opt-in class, apprising them of the pendency of this action, and permitting

them to assert timely FLSA claims and state claims in this action by filing individual Consent

to Sue forms pursuant to 29 U.S.C. § 216(b), and appointing Plaintiff and their counsel to

represent the Collective Action Members;

        d)     A declaratory judgment that the practices complained of herein are unlawful

under FLSA and CMWA;

        e)     An injunction against Corporate Defendants, its officers, agents, successors,

employees, representatives and any and all persons acting in concert with them as provided by

law, from engaging in each of unlawful practices and policies set forth herein;

        f)     An award of unpaid minimum wage and overtime wages due under FLSA and

CMWA due Plaintiff and the Collective Action members plus compensatory and liquidated

damage.

        g)     An award of liquidated and/or punitive damages as a result of Defendants’

knowing and willful failure to pay wages at least the hourly minimum wage, overtime

compensation pursuant to 29 U.S.C. §216;

        h)     An award of costs and expenses of this action together with reasonable

attorneys’ and expert fees pursuant to 29 U.S.C. §216(b);

        i)     The cost and disbursements of this action;




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        j)     An award of prejudgment and post-judgment fees;

        k)     Such other and further legal and equitable relief as this Court deems necessary,

just, and proper.

Dated: Flushing, New York                            By:   /s/ John Troy
                                                   John Troy (JT0481)




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